           Case 1:06-cv-00063-JM Document 13 Filed 09/06/07 Page 1 of 1




                              UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW HAMPSHIRE

Sumner Brown, et. al.


vs.                                                           Civil No. 1:06-cv-63-JM

Filtrine Manufacturing Co., Inc., et al.


                      STIPULATION OF DISMISSAL WITH PREJUDICE

       IT IS HEREBY STIPULATED AND AGREED by and between Plaintiffs, Sumner

Brown, Carla Brown and Hallie Brown b/f/n/f Sumner Brown, and defendant, Filtrine

Manufacturing Co., Inc. and Robert Piescik, Plan Adminstrator of Filtrine Manufacturing Co.,

Inc., pursuant to Federal Rules of Civil Procedure, that this action shall be and hereby is

dismissed, with prejudice, and without costs or attorney’s fees to any party.

SUMNER BROWN, CARLA BROWN       FILTRINE MANUFACTURING CO., INC. AND
and HALLIE BROWN B/F/N/F SUMNER ROBERT PIESCIK, PLAN ADMINISTRATOR
BROWN                           OF FILTRINE MANUFACTURING CO., INC.

By their attorneys,                           By their attorneys,



_/s/Francis X. Quinn, Jr_________             _/s/Thomas M. Closson___________________
Francis X. Quinn, Jr., Bar #4848              Thomas M. Closson, Bar #9966
BOYNTON, WALDRON, DOLEAC,                     FLYGARE, SCHWARZ & CLOSSON, PLLC
WOODMAN & SCOTT, P. A.                        11 Court Street, P. O. Box 439
P. O. BOX 418 - 82 Court Street               Exeter, NH 03833
Portsmouth, NH 03802-0418                     Phone - 603-778-7300
Phone - 603-436-4010                          Fax - 603-778-7373
Fax - 603-431-9973

Dated: September 6, 2007
